Case 2:14-cv-11691-LJM-MKM ECF No. 288 filed 01/15/20         PageID.7473    Page 1 of 1




                     UNITED STATES DISTRICT COURT
                 IN THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 MELVIN BOWENS, et al.,

       Plaintiffs,

 vs.                                           Case No. 14-cv-11691-LJM-MKM
                                               Hon. Laurie J. Michelson
 HEIDI WASHINGTON, et al.,

       Defendants.

            NOTICE OF WITHDRAWAL OF ECF NOs. 281 and 282

 Counsel for Plaintiffs, after either written to or having a conversation with each of

 the filers of ECF Nos 281 and 282, files this Notice to withdraw both documents

 that were filed as pro se pleadings.

 Respectfully submitted,

 /s/ Daniel E. Manville (P39731)
 Director, Civil Rights Clinic
 Co-Counsel for Plaintiffs
 Michigan State University College of Law
 648 N. Shaw Lane
 East Lansing, MI 48824
 (517) 432-6866
 Daniel.manville@law.msu.cdu

                                CERTIFICATE OF SERVICE
  I declare under penalty of perjury that this document was filed by ECF with the
 Court and sent to Defendants’ counsel.
                                       /s/ Daniel Manville
                                       Daniel.manville@law.msu.cdu



                                           1
